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                                United States District Court
                               Western District of Washington

     U.S. v. Dirk Walter Tichgelaar, CR21-114RSL/CR21-115RSL

   This individual would appear to meet the Court’s guidelines for appointment of
   counsel because:

✔
; Individual has been advised of the right to have court appointed counsel

   Individual is a “target” of a Grand Jury investigation

   Individual may be exposed to self-incrimination

   Individual runs the risk of contempt (may refuse to answer Grand Jury questions)


   Additional Information:

   Individual Received a Pre-charge letter from AUSA

   Individual has received a                         to appear for:

   Individual was subject to a search of home or property by Federal Agents

✔ Other:
           Restitution Hearing set for 9/26/2024 @ 11:00 a.m. before Judge Lasnik.
           Defendant is currently in custody @ FCI Sheridan




                                      Lupe Zamudio                      8/29/2024
                                      ____________________________________________
                                      Submitted by (CJA Administration)        Date
